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                                  OFFICE OF THE CLERK
                            UNITED STATES DISTRICT COURT
                                Northern District of California

                                        CIVIL MINUTES
 Date: April 5, 2022                  Time: 1:30-1:45                 Judge: EDWARD M. CHEN
                                            15 minutes

 Case No.: 21-cv-06638-EMC            Case Name: Bayview Loan Servicing, LLC v. Stanley
Attorney for Plaintiff: Seth Harris
Attorney for Defendant: Adrienne Zack
 Deputy Clerk: Vicky Ayala                                Court Reporter: Ronelle Corbey
                                         PROCEEDINGS
Initial Case Management Conference - held
                                           SUMMARY
Parties stated appearances. Ms. Staley appeared pro se.
Parties reported that they have attempted to informally resolve the dispute through private sale of
the property at issue. No sale has occurred, partially due to outstanding IRS liens on the
Stanleys’ interest in the property.

All parties who appeared are interested in resolving the dispute. Parties were referred to a
magistrate judge to hold a settlement conference within 60 to 90 days. Ms. Stanley believes
that Mr. Stanley will be willing to participate in future proceedings.

CASE CONTINUED TO: August 23, 2022, at 3:00 P.M., for Further Case Management
Conference. Joint case management statement due by 8/16/22.
REFERRALS:
Case referred to Magistrate Judge for settlement conference to be completed within 90 days.
